   20-50805-rbk Doc#57 Filed 06/21/20 Entered 06/21/20 23:24:17 Imaged Certificate of
                                   Notice Pg 1 of 2
                        UNITED STATES BANKRUPTCY COURT
                               Western District of Texas
                                 San Antonio Division

                                                                      Bankruptcy Case
                                                                                      20−50805−rbk
                                                                                 No.:
                                                                         Chapter No.: 11
                                                                               Judge: Ronald B. King
IN RE: KrisJenn Ranch, LLC , Debtor(s)



             NOTICE OF PAST DUE DEADLINE FOR FILING OF DOCUMENT
The original signed Declaration for Electronic Filing has not been electronically filed into CM/ECF for the filing of:

46 − Amended Schedules and Summary: ( Amended Schedule(s): A/B), Amended Statement of Financial Affairs
filed by Ronald J. Smeberg for Debtor Krisjenn Ranch, LLC, Krisjenn Ranch, LLC, Series Uvalde Ranch, Krisjenn
Ranch, LLC, Series Pipeline Row. −Declaration for Electronic Filing due by 06/12/2020 (Smeberg, Ronald)



Please electronically file the original Declaration for Electronic Filing immediately. If the Declaration for
Electronic Filing is not filed by July 3, 2020, as to any original petition, matrix, statement and schedules, this case
will be dismissed by the court and that, as to any amended petition, statement, schedule or matrix, the amendment(s)
will be stricken by the Court.




Dated: 6/19/20
                                                               Barry D. Knight
                                                               Clerk, U. S. Bankruptcy Court




                                                                                                 [Declaration Due Letter] [LtrDclrdu]
         20-50805-rbk Doc#57 Filed 06/21/20 Entered 06/21/20 23:24:17 Imaged Certificate of
                                         Notice Pg 2 of 2
                                               United States Bankruptcy Court
                                                 Western District of Texas
In re:                                                                                                     Case No. 20-50805-rbk
KrisJenn Ranch, LLC                                                                                        Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0542-5                  User: admin                        Page 1 of 1                          Date Rcvd: Jun 19, 2020
                                      Form ID: 234                       Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 21, 2020.
db              KrisJenn Ranch, LLC,   410 Spyglass Rd,   McQueeney, TX 78123-3418

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 21, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 19, 2020 at the address(es) listed below:
              Carlos M Arce    on behalf of Creditor    Uvalde County Tax Office carce@pbfcm.com,
               mvaldez@pbfcm.com;mvaldez@ecf.courtdrive.com
              Charles John Muller, IV    on behalf of Plaintiff    Krisjenn Ranch, LLC, Krisjenn Ranch, LLC,
               Series Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row john@muller-smeberg.com,
               mary.ables-miller@chamberlainlaw.com
              John P. Dillman    on behalf of Creditor    Shelby County houston_bankruptcy@publicans.com
              John P. Dillman    on behalf of Creditor    Angelina County houston_bankruptcy@publicans.com
              Laura L. Worsham    on behalf of Creditor    McLeod Oil, LLC lworsham@jonesallen.com,
               kmcdonald@jonesallen.com
              Michael J. Black    on behalf of Creditor    Longbranch Energy, LP mblack@burnsandblack.com,
               mcollins@burnsandblack.com
              Michael J. Black    on behalf of Creditor    DMA Properties, Inc. mblack@burnsandblack.com,
               mcollins@burnsandblack.com
              Ronald J. Smeberg    on behalf of Debtor    KrisJenn Ranch, LLC, Series Pipeline Row
               ron@smeberg.com, ronaldsmeberg@yahoo.com
              Ronald J. Smeberg    on behalf of Debtor    KrisJenn Ranch, LLC, Series Ulvade Ranch
               ron@smeberg.com, ronaldsmeberg@yahoo.com
              Ronald J. Smeberg    on behalf of Plaintiff    Krisjenn Ranch, LLC, Krisjenn Ranch, LLC, Series
               Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row ron@smeberg.com, ronaldsmeberg@yahoo.com
              Ronald J. Smeberg    on behalf of Debtor    KrisJenn Ranch, LLC ron@smeberg.com,
               ronaldsmeberg@yahoo.com
              Tab Beall     on behalf of Creditor    Nacogdoches County, et al. tbeall@pbfcm.com,
               tylbkc@pbfcm.com;tbeall@ecf.inforuptcy.com
              Tara LeDay     on behalf of Creditor    Guadalupe County
               tleday@ecf.courtdrive.com;kmorriss@mvbalaw.com;vcovington@mvbalaw.com;bankruptcy@mvbalaw.com;aloc
               klin@mvbalaw.com
              United States Trustee - SA12    USTPRegion07.SN.ECF@usdoj.gov
                                                                                               TOTAL: 14
